'Case 7:19-mj-00831 Docbment 1 Filed on 04/15/19 in TXSD Page 1 of 2

Ao 91 (nev. 11/11) criminal complaint - Uni?@d State§ Pr~‘rrem court

UNITED STATES DISTRICT CoURT

for the

 

Southern District of Texas ®@V§C§ § 55.§§;§§ N§§k
JYMH

United States of Arnerica
v.

Case No. A/l ` /q" 083/"/%

Brian Alan' HERRERA-Va|enzuela (Y.O.B. 1993)
Citizenship: Mexico

WWV\/\_/V\_/

 

Defendant(s)

CRIMINAL COMPLAINT

' ry _ 1,.the:_ complainant in this case, state that the following is tme to the best of my knowledge and belief.
On or about the date(s) of ADF il 14, 2019 in the county of Hida|QO in the

Southern v ' District of Texas , the defendant(s) violated:

 

Code Section Ojense Description

21 USC § 952 l knowingly and intentionally import into the United States from l\/lexico
21 USC § 841 \ approximately 23.‘16 kilograms of methamphetamine, a Schedule |l controlled
substance, and did knowingly and intentionally possess With the intent to
v distribute approximately 23.16 kilograms of methamphetamine, a Schedule ll
l l controlled substance

This criminal complaint is based on these facts:

See Attachrnent "A"

Ei' Cbntinued on the attached sheet.

Submitted by reliable electronic means, sworn to /&/@,`

and attested to =j lephonically per Fed. R. Cr.4.1, COmpla,~nam»S signature

Shane Petrosky, HS| Specia| Agent

Printed name and title

 

  
  
 

'_ 4/\”%!§01
Swo . a signed inmy presence

Date: :- -'02;]15;2019 §§ §§ “,\_,`___ ///~(Z; g &,W__,/?

Judge’ s signature

City and state:-~ MCA\\€Y\, Texas U.S. l\/lagistrate Judge Peter E. Ormsby

Printea' name and title

 

. , Case 7:19-mj-00831 Document 1 Filed on 04/15/19 in TXSD Page 2 of 2

ATTACHMENT A

On 'April 14, 2019, a blue Ford Five Hundred driven by Brian Alan HERRERA-Valenzuela
attempted to make entry into the United States via the Hidalgo, Texas Port of Entry. At primary
inspection, Customs and Border Protection Ofticer (CBPO) Marin Chapa questioned
HERRERA- Valenzuela as to the purpose of his travel` 1n the United States to which he replied he
was traveling to Hidalgo, Texas for shopping CBPO Chapa observed HERRERA-Valenzuela
had a change m demeanor during questioning about his crossings. CBPO Chapa referred the
Ford Five Hundred and HERRERA-Valenzuela to secondary inspection.

At secondary inspection, CBPO Romualdo Iglesias escorted the vehicle to the Z-Portal X-Ray
machine where CBPO Aramis Rodriguez performed a non-intrusive scan of the vehicle and

._ observedi;anomalies in the tires. The Ford Five Hundred Was then parked in the secondary area
where an intensive examination of the tires Was conducted Which Subsequently revealed forty
.(4()_)1packages containing a white crystalline substance weighing approximately 23.16 kilograms
The white crystalline substance in the packages field tested positive for the properties of
methamphetamine

HSI McAllen Special Agents conducted an interview of HERRERA-Valenzuela. During the
interview HERRERA-Valenzuela stated he was the registered owner of the vehicle. HERRERA-
Val_enzuela further stated he knew he was transporting an unknown type or quantity of narcotics
in the vehicle tires. HERRERA-Valenzuela stated he was going to be paid approximately seven
thousand ($7, 000) United States Dollars for transporting the narcotics

._ 11 il

 

